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                                          4YVTSWI;L]%VI;I,IVI#
-QTPIQIRXMRK)JJIGXMZI'LMPH*MRHERH    Ɣ   6IZMI[SJTVSGIHYVEPVIUYMVIQIRXWVIPEXIHXSXLIMRMXMEPIZEPYEXMSRTVSGIWW
-RMXMEP)ZEPYEXMSR4VSGIWWIWMR/47           YRHIVJIHIVEPERHPSGEPPE[RIGIWWEV]FEWIH7XEXI'SQTPEMRXWƻPIHXLMW
                                              WGLSSP]IEV[MXL1MGLMKER(ITEVXQIRXSJ)HYGEXMSR
(IGIQFIV                             Ɣ   6IZMI[SRMQTPIQIRXEXMSRSJGLMPHƻRHW]WXIQWERHHIZIPSTWXVEXIKMIWXS
                                              WXVIRKXLIRXLIQ
                                          Ɣ   6IZMI[OI]XVEMRMRKWYTTSVXWJSVWXEJJERHEHQMRMWXVEXSVW
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                                          ;LEXMW'LMPH*MRH#

                                          'LMPH*MRHMWEVIUYMVIQIRXXSPSGEXIMHIRXMJ]ERHIZEPYEXMSRGLMPHVIR[LSQE]
                                          VIUYMVIIEVP]MRXIVZIRXMSRSVWTIGMEPIHYGEXMSRWIVZMGIW
'LMPH*MRH3ZIVZMI[
                                          (MWXVMGXWQYWXIRKEKIMRGSRXMRYSYWTYFPMGE[EVIRIWWERHWGVIIRMRKEGXMZMXMIW
                                          XLEXLIPTIRWYVIXLMWVIUYMVIQIRXMWQIX
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                                                                                                                                          Page 2




                             MDE_007757                                                               MDE_007758
'LMPH*MRH-()%ERH1%67)                                                             /I]WXSER)JJIGXMZI'LMPH*MRH7]WXIQ
8LI-()%ƅWGLMPHƻRHƈQERHEXIƉMWEREƽVQEXMZISRKSMRKSFPMKEXMSRSJWXEXIW            Ɣ   4VSZMHI[VMXXIRTSPMGMIWERH                                        Ɣ )RWYVIETTVSTVMEXIERHXMQIP]
ERHPSGEPHMWXVMGXXSWIIOSYXWXYHIRXW[LSEVITSXIRXMEPP]IPMKMFPIJSVERHVIJIV          TVSGIHYVIW                                                             VIJIVVEPWJSVIZEPYEXMSR
XLSWIWXYHIRXWJSVERIZEPYEXMSR                                                        Ɣ   4VSZMHITVSJIWWMSREPHIZIPSTQIRX                                    Ɣ 1EMRXEMRERHVITSVXEGGYVEXIHEXI
                                                                                             XSWXEJJERRYEPP]                                                      ERHYWIMXXSMRJSVQTVSJIWWMSREP
3XLIVGLMPHVIRMRGLMPHƻRH'LMPHƻRHQYWXMRGPYHI
                                                                                         Ɣ   )RKEKIMRTYFPMGTEVIRX                                               HIZIPSTQIRXRIIHW
Ɣ   'LMPHVIR[LSEVIWYWTIGXIHSJFIMRKEGLMPH[MXLEHMWEFMPMX]YRHIV-()%                E[EVIRIWWEGXMZMXMIW[MXL                                           Ɣ 'SSVHMREXI[MXLSXLIVEKIRGMIW
    ERH1%67)ERHMRRIIHSJWTIGMEPIHYGEXMSRWIVZMGIWIZIRXLSYKLXLI]                   TEVXRIVW EWETTVSTVMEXI
                                                                                                                                                                                                                                                  Case 1:22-cv-00838-RJJ-PJG




                                                                                                                                                                     EWETTVSTVMEXI
    EVIEHZERGMRKJVSQKVEHIXSKVEHI                                                   Ɣ   'SRHYGX18778MIVIH
Ɣ   ,MKLP]QSFMPIGLMPHVIR[EVHWSJXLI7XEXIGLMPHVIRMRTVMZEXIWGLSSPWERH             MRXIVZIRXMSRW[MXLƻHIPMX]
    QMKVERXGLMPHVIR                                        MDE_007759                                                                                                                       MDE_007760
                                                                                                                                                                                                                                              of 6




                                                                                      'LMPH*MRHERH-RMXMEP)ZEPYEXMSR4VSGIWW

                                                                                                                                      %GLMPHWYWTIGXIHSJLEZMRKEHMWEFMPMX]
                                                                                                                                                                                                                                     ECF No. 86-28, PageID.2120




                                                                                                    6IJIVVEPMWQEHIF]TEVIRXKYEVHMERSV                       7GLSSPXIEQKIRIVEXIWEGORS[PIHKIQIRXPIXXIVXS
                                                                                                               WGLSSPWXEJJXIEQ                                 TEVIRX[MXLMRWGLSSPHE]WVIZMI[WI\MWXMRKHEXE
                                                                                                                                                                              ERHQEOIWHIXIVQMREXMSR

4VSGIHYVEP6IZMI[                                                                                7GLSSPHIXIVQMRIWXLEXERIZEPYEXMSRMW
                                                                                                                                                      7GLSSPXIEQHIXIVQMRIWXLEXER
                                                                                                                                                                                                7GLSSPXIEQVIUYIWXWTEVIRXEP
                                                                                                                                                      IZEPYEXMSRMWVIUYMVIH2SXMGIMW
                                                                                                  RSXVIUYMVIHEXXLMWXMQIERHRSXMGIMW                                                         GSRWIRXXSIZEPYEXIERH
                                                                                                                                                                   MWWYIH
                                                                                                             TVSZMHIH 4;2                                                                          GSRHYGXWIZEPYEXMSR
                                                                                                                                                                                                                                                  Filed 04/10/25




                                                                                                7GLSSP XIEQ GSRXMRYI
                                                                                                7GLSSPXIEQGSRXMRYIWXSQEMRXEMR                        'LMPHLEWEUYEPMJ]MRK
                                                                                                                                                           HMWEFMPMX]ERHRIIHW                       'LMPHHSIWRSXUYEPMJ]JSV
                                                                                                XMIVIHWYTTSVXERHQSRMXSVTVSGIWW                                                                     WIVZMGIW7GLSSPXIEQ
                                                                                                                                                        WTIGMEPM^IHMRWXVYGXMSR%R
                                                                                                                                                         -)4MWGVIEXIH[MXLMR                      QEMRXEMRWWYTTSVXERH
                                                                                                                                                         WGLSSPHE]WERH*%4)MW                         QSRMXSVWTVSKVIWW
                                                                                                                                                                  SJJIVIH
                                                                                                                                                                                                                                                  Page 3




                                                              MDE_007761                                                                                                                      MDE_007762
6IJIVVEP8]TIW                                                                     )\GITXMSRWXSXLI)ZEPYEXMSR8MQIPMRI

%[VMXXIRVIUYIWXJSVERIZEPYEXMSRHYIXSWYWTMGMSRSJHMWEFMPMX]                 Ɣ   8LITEVIRXSJGLMPHVITIEXIHP]JEMPWSVVIJYWIWXSTVSHYGIXLIGLMPHJSVXLI
                                                                                       IZEPYEXMSRMIQMWWIHHE]WSJEXXIRHERGI
Ɣ   8VMKKIVWXLIHE]XMQIPMRIJSVERIZEPYEXMSR                                 Ɣ   8LITEVIRXJEMPWSVVIJYWIWXSVIWTSRHXSEVIUYIWXJSVGSRWIRXJSVXLI
Ɣ   'ERFIMRMXMEXIHF]XLIPIKEPTEVIRXKYEVHMERSVWGLSSPXIEQ
                                                                                       IZEPYEXMSR
238)%PP[VMXXIRVIUYIWXWQYWXFIHEXIWXEQTIHERHWYFQMXXIHXSXLIWGLSSP      Ɣ   8LIGLMPHIRVSPPWMREWGLSSPSJERSXLIVHMWXVMGXEJXIVXLIIZEPYEXMSRXMQIPMRI
TW]GLSPSKMWXERH7XYHIRX7IVZMGIW[MXLMRLSYVW                                     LEWFIKYRERHTVMSVXSXLIHIXIVQMREXMSRF]XLIXIEQ
                                                                                                                                                                                   Case 1:22-cv-00838-RJJ-PJG




                                                             MDE_007763                                                                         MDE_007764
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6IEWSREFPI)JJSVXW8S3FXEMR4EVIRX
                                                                                                                                                                      ECF No. 86-28, PageID.2121




'SRWIRX                                                                            -RMXMEP)ZEPYEXMSR(EXE;I%REP]^I

(MWXVMGXWQYWXQEOIVIEWSREFPIIJJSVXWXSIRKEKIXLIJEQMP]XSSFXEMRTEVIRX      Ɣ   'PEWWVSSQEWWIWWQIRXW                   Ɣ   (EXESJXMIVIHMRXIVZIRXMSRW
GSRWIRX                                                                           Ɣ   7GLSSP[MHIERHWXEXI                   Ɣ   ,IEPXLVIGSVHW
                                                                                       EWWIWWQIRXW                             Ɣ   8IEGLIVVIGSVHW
6IEWSREFPIIJJSVXWMRGPYHIEXPIEWXXLVIIEXXIQTXWXSGSRXEGXXLITEVIRXYWMRK    Ɣ   3FWIVZEXMSRW                            Ɣ   %R]VIPIZERXHEXEEZEMPEFPI
EXPIEWXX[SQSHEPMXMIWSRXLVIIHMJJIVIRXHEXIW(SGYQIRXEXMSRPSKWWLSYPHFI   Ɣ   7XYHIRXVIGSVHW
                                                                                                                                                                                   Filed 04/10/25




OITX                                                                              Ɣ   +VEHIW
              4LSRIGEPP        ;VMXXIR'SVVIWTSRHERGIW *IH)\                      Ɣ   4EVIRXVITSVXW

              8I\XQIWWEKIW     ,SQIZMWMXW
                                                                                                                                                                                   Page 4




                                                             MDE_007765                                                                         MDE_007766
                                                            ;LEXMW1877#
                                                                                                      8LI1MGLMKER(ITEVXQIRXSJ)HYGEXMSRHIƻRIWE
                                                                                                      1YPXM8MIVIH7]WXIQSJ7YTTSVXW 1877 EWEQYPXMPIZIP
'LMPH*MRHERH18771YPXMXMIVIH                                                                    JVEQI[SVOSJMRWXVYGXMSREWWIWWQIRXERHMRXIVZIRXMSR
                                                                                                      HIWMKRIHXSQIIXXLIEGEHIQMGERHFILEZMSVEPLIEPXL
                                                                                                      RIIHWSJEPPPIEVRIVW8LMWGSRXMRYSYWMQTVSZIQIRX
7]WXIQSJ7YTTSVXW                                                                                    JVEQI[SVOYWIWHEXEMRJSVQIHTVSFPIQWSPZMRKERH
                                                                                                      HIGMWMSRQEOMRKEGVSWWEPPPIZIPW 4/ 8LI1877
                                                                                                      JVEQI[SVOMWEKYMHIJSVSVKERM^MRKVIWSYVGIWXSTVSZMHI
                                                                                                      XMQIP]MRWXVYGXMSRMRXIVZIRXMSRFEWIHSR[LEXMWFIWXJSV
                                                                                                      IEGLWXYHIRX-XIWXEFPMWLIWXLEXWGLSSPWLEZIWXVYGXYVIW
                                                                                                                                                                            Case 1:22-cv-00838-RJJ-PJG




                                                                                                      ERHXIEQWMRTPEGIXSIRWYVIEW]WXIQEXM^IHVIWTSRWI
                                                                                                      JSVEHHVIWWMRKMHIRXMƻIHWXYHIRXRIIHW


                                       MDE_007767                                                                               MDE_007768
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'LMPH*MRHERH1877'SRRIGXMRKXLI(SXW                   'LMPH*MRHERH18776IQMRHIVW

                      'LMPH*MRH6IJIVVEPW                  Ɣ   8LI1877TVSGIWWXLEXTVSZMHIWYRMZIVWEPWYTTSVXERHWXVSRKXMIVIH
                                                                MRXIVZIRXMSRWMWFIWXTVEGXMGI,S[IZIVMJGERRSXWYTTPERXIZEPYEXMSR
                      Ɣ   'SRGIVRWJVSQTEVIRXWERHWXEJJ       VIUYMVIQIRXWERHXMQIPMRIWMR-()%
                      Ɣ   18777XVEXIKMIWERH              Ɣ   1877ERHSXLIVWYTTSVXWWLSYPHGSRXMRYIJSVXLIWXYHIRXWXLVSYKLSYXXLI
                          6IWIEVGLFEWIH-RXIVZIRXMSRW          GLMPHƻRHTVSGIWWERHYRXMPXLIIZEPYEXMSRMWGSQTPIXI
                                                                                                                                                                            Filed 04/10/25




                      Ɣ   3XLIVEWWIWWQIRXWERH            Ɣ   -JXLIWXYHIRXIPMKMFPIER-)4[MPPFIMQTPIQIRXIH
                          SFWIVZEXMSRW                      Ɣ   -JXLIWXYHIRXMWRSXIPMKMFPIMRXIVZIRXMSRIJJSVXWWLSYPHGSRXMRYIJSVXLI
                                                                WXYHIRX
                                                                                                                                                                            Page 5




                                       MDE_007769                                                                               MDE_007770
1877MWRSX
Ɣ   %RMRWXVYGXMSREPTVSKVEQSV
    MWSPEXIHMRXIVZIRXMSR
Ɣ   %GLIGOPMWXSJMXIQWJSV
    EGGSYRXEFMPMX]
Ɣ   -WSPEXIHFYMPHMRKXIEQWXLEX
    STIVEXMZIMRHITIRHIRXP]
Ɣ   %NSFJSVERGMPPEV]WXEJJERHSXLIV
    WYTTSVXWXEJJ
Ɣ   %[EMXERHWII[LSJEMPWW]WXIQ
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    .YWXJSVWXYHIRXW[MXLHMWEFMPMXMIW
Ɣ   .YWXJSVKIRIVEPIHYGEXMSR
    WXYHIRXW
Ɣ   %[E]XSPEFIPWXYHIRXW               MDE_007771
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